Case 2:22-cv-14102-DMM Document 191 Entered on FLSD Docket 06/28/2022 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CV-14102-MIDDLEBROOKS

   DONALD J. TRUMP,

         Plaintiff,

   V.

   HILLARY R. CLINTON, et al. ,

          Defendants.
   - - - - - - - - - - - - - - - - - -I
           ORD ER GRANTING PLAINTIFF'S UNOPPOSED MOTION TO REDACT

          THIS CAUSE is before the Court on Plaintiff's Unopposed Motion to Redact the Address

   of Rod Rosenstein, a Former Employee of the Department of Justice, from the Public Record, filed

   on June 27, 2022. (DE 189). Since my first Order granting the United States' Motion to Redact,

   Plaintiff has, for the third time, filed documents in the court record (namely, a summons)

   containing sensitive information-this time, the address of Defendant Rod Rosenstein, a former

   Department of Justice employee. (DE 181-1 ). Plaintiff now seeks to have this information

   redacted. (DE 189). For the same reasons explained in my first Order (DE 12), Plaintiff's Motion

   is granted.

           Accordingly, it is ORDERED AND ADJUDGED that:

           (1) Plaintiff's Unopposed Motion to Redact (DE 189) is GRANTED.

           (2) The Clerk of Court is directed to STRIKE and REMOVE Docket Entry 181-1 from

                 the record.
Case 2:22-cv-14102-DMM Document 191 Entered on FLSD Docket 06/28/2022 Page 2 of 2



         (3) Plaintiff SHALL FILE a redacted version of the summons in the record on or before

            July 1, 2022.

         SIGNED in Chambers at West Palm Beach, Florida this 28t




                                                          United States District Judge




                                               2
